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                                EXHIBIT J
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                                                                                   EXECUTION COPY




                                      SERVICING AGREEMENT

                This Servicing Agreement, dated as of March 27, 2008 is entered into by and among
ABERDEEN LOAN FUNDING, LTD., an exempted company incorporated with limited liability under
the laws of the Cayman Islands, with its registered office located at Walker House, 87 Mary Street,
George Town, Grand Cayman, KY1-9002, Cayman Islands (together with successors and assigns
permitted hereunder, the “Issuer”), and HIGHLAND CAPITAL MANAGEMENT, L.P., a Delaware
limited partnership, with its principal offices located at Two Galleria Tower, 13455 Noel Road,
Suite 1300, Dallas, Texas 75240, as servicer (“Highland” or, in such capacity, the “Servicer”).

                                              WITNESSETH:

                WHEREAS, the Issuer and ABERDEEN LOAN FUNDING CORP. (the “Co-Issuer” and
together with the Issuer, the “Co-Issuers”) intend to issue U.S.$376,000,000 of their Class A Floating
Rate Senior Secured Extendable Notes due 2018 (the “Class A Notes”), U.S.$29,500,000 of their Class B
Floating Rate Senior Secured Extendable Notes due 2018 (the “Class B Notes”), U.S.$25,250,000 of their
Class C Floating Rate Senior Secured Deferrable Interest Extendable Notes due 2018 (the “Class C
Notes”), U.S.$19,250,000 of their Class D Floating Rate Senior Secured Deferrable Interest Extendable
Notes due 2018 (the “Class D Notes”), and the Issuer intends to issue U.S.$17,250,000 of its Class E
Floating Rate Senior Secured Deferrable Interest Extendable Notes due 2018 (the “Class E Notes” and
together with the Class A Notes, Class B Notes, Class C Notes and Class D Notes, the “Notes”) pursuant
to the Indenture dated as of March 27, 2008 (the “Indenture”), among the Co-Issuers and State Street
Bank and Trust Company, as trustee (the “Trustee”) and the Issuer intends to issue 12,000 Class I
Preference Shares, $0.01 par value (the “Class I Preference Shares”) and 36,000 Class II Preference
Shares, $0.01 par value (the “Class II Preference Shares” and, together with the Class I Preference Shares,
the “Preference Shares” and, together with the Notes, the “Securities”) pursuant to the Preference Shares
Paying Agency Agreement dated as of March 27, 2008 (the “Preference Shares Paying Agency
Agreement”) between the Issuer and State Street Bank and Trust Company, as the Preference Shares
Paying Agent, and pursuant to the Issuer’s amended and restated memorandum and articles of association
(the “Memorandum and Articles of Association”) and certain resolutions of the board of directors of the
Issuer;

                 WHEREAS, the Issuer intends to pledge certain Collateral Obligations, Eligible
Investments and Cash (all as defined in the Indenture) and certain other assets (all as set forth in the
Indenture) (collectively, the “Collateral”) to the Trustee as security for the Notes;

                WHEREAS, the Issuer wishes to enter into this Servicing Agreement, pursuant to which
the Servicer agrees to perform, on behalf of the Issuer, certain duties with respect to the Collateral in the
manner and on the terms set forth herein; and

                WHEREAS, the Servicer has the capacity to provide the services required hereby and in
the applicable provisions of the other Transaction Documents and is prepared to perform such services
upon the terms and conditions set forth herein.




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                 NOW, THEREFORE, in consideration of the mutual agreements herein set forth, the
parties hereto agree as follows:

                  1.      Definitions.

                  Terms used herein and not defined below shall have the meanings set forth in the
Indenture.

                  “Agreement” shall mean this Servicing Agreement, as amended from time to time.

                “Governing Instruments” shall mean the memorandum, articles or certificate of
incorporation or association and by-laws, if applicable, in the case of a corporation; the certificate of
formation, if applicable, or the partnership agreement, in the case of a partnership; or the certificate of
formation, if applicable, or the limited liability company agreement, in the case of a limited liability
company.

                “HFP” shall mean Highland Financial Partners, L.P. (which includes, for the avoidance
of doubt, any subsidiary thereof).

               “Offering Memorandum” shall mean the Offering Memorandum of the Issuer dated
March 27, 2008 prepared in connection with the offering of the Securities.

                  “Servicer Breaches” shall have the meaning specified in Section 10(a).

                “Servicing Fee” shall mean, collectively, the Senior Servicing Fee, the Subordinated
Servicing Fee and the Supplemental Servicing Fee.

             “Transaction Documents” shall mean the Indenture, the Preference Shares Paying
Agency Agreement, the Servicing Agreement and the Collateral Administration Agreement.

                  2.      General Duties of the Servicer.

                          (a)     The Servicer shall provide services to the Issuer as follows:

                                   (i)     Subject to and in accordance with the terms of this Agreement
                  and the other Transaction Documents, the Servicer shall supervise and direct the
                  administration, acquisition and disposition of the Collateral, and shall perform on behalf
                  of the Issuer those duties and obligations of the Servicer required by the Indenture and
                  the other Transaction Documents, and including the furnishing of Issuer Orders, Issuer
                  Requests and officer’s certificates, and such certifications as are required of the Servicer
                  under the Indenture with respect to permitted purchases and sales of the Collateral
                  Obligations, Eligible Investments and other assets, and other matters, and, to the extent
                  necessary or appropriate to perform such duties, the Servicer shall have the power to
                  execute and deliver all necessary and appropriate documents and instruments on behalf of
                  the Issuer with respect thereto. The Servicer shall, subject to the terms and conditions of
                  this Agreement and the other Transaction Documents, perform its obligations hereunder
                  and thereunder with reasonable care, using a degree of skill and attention no less than that
                  which the Servicer exercises with respect to comparable assets that it services or manages
                  for others having similar objectives and restrictions, and in a manner consistent with
                  practices and procedures followed by institutional servicers or managers of national
                  standing relating to assets of the nature and character of the Collateral for clients having



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                  similar objectives and restrictions, except as expressly provided otherwise in this
                  Agreement and/or the other Transaction Documents. To the extent not inconsistent with
                  the foregoing, the Servicer shall follow its customary standards, policies and procedures
                  in performing its duties under the Indenture and hereunder. The Servicer shall comply
                  with all terms and conditions of the other Transaction Documents affecting the duties and
                  functions to be performed hereunder. The Servicer shall not be bound to follow any
                  amendment to any Transaction Document until it has received written notice thereof and
                  until it has received a copy of the amendment from the Issuer or the Trustee; provided,
                  however, that the Servicer shall not be bound by any amendment to any Transaction
                  Document that affects the rights, powers, obligations or duties of the Servicer unless the
                  Servicer shall have consented thereto in writing. The Issuer agrees that it shall not permit
                  any amendment to the Indenture that (x) affects the rights, powers, obligations or duties
                  of the Servicer or (y) affects the amount or priority of any fees payable to the Servicer to
                  become effective unless the Servicer has been given prior written notice of such
                  amendment and consented thereto in writing;

                                   (ii)    the Servicer shall select any Collateral which shall be acquired
                  by the Issuer pursuant to the Indenture in accordance with the Collateral criteria set forth
                  herein and in the Indenture;

                                    (iii)   the Servicer shall monitor the Collateral on an ongoing basis and
                  provide to the Issuer all reports, certificates, schedules and other data with respect to the
                  Collateral which the Issuer is required to prepare and deliver under the Indenture, in the
                  form and containing all information required thereby and in reasonable time for the Issuer
                  to review such required reports, certificates, schedules and data and to deliver them to the
                  parties entitled thereto under the Indenture;

                                  (iv)    the Servicer shall undertake to determine to the extent
                  reasonably practicable whether a Collateral Obligation has become a Defaulted Collateral
                  Obligation;

                                   (v)      the Servicer, subject to and in accordance with the provisions of
                  the Indenture may, at any time permitted under the Indenture, and shall, when required by
                  the Indenture, direct the Trustee (x) to dispose of a Collateral Obligation, Equity Security
                  or Eligible Investment or other securities received in respect thereof in the open market or
                  otherwise, (y) to acquire, as security for the Notes in substitution for or in addition to any
                  one or more Collateral Obligations or Eligible Investments included in the Collateral, one
                  or more substitute Collateral Obligations or Eligible Investments, or (z) direct the Trustee
                  to take the following actions with respect to a Collateral Obligation or Eligible
                  Investment:

                                           (1)      retain such Collateral Obligation or Eligible Investment;
                          or

                                          (2)     dispose of such Collateral Obligation or Eligible
                          Investment in the open market or otherwise; or

                                          (3)     if applicable, tender such Collateral Obligation or
                          Eligible Investment pursuant to an Offer; or




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                                          (4)     if applicable, consent to any proposed amendment,
                          modification or waiver pursuant to an Offer; or

                                           (5)      retain or dispose of any securities or other property
                          (if other than cash) received pursuant to an Offer; or

                                          (6)      waive any default with respect to any Defaulted
                          Collateral Obligation; or

                                          (7)      vote to accelerate the maturity of any Defaulted
                          Collateral Obligation; or

                                            (8)     exercise any other rights or remedies with respect to
                          such Collateral Obligation or Eligible Investment as provided in the related
                          Underlying Instruments, including in connection with any workout situations, or
                          take any other action consistent with the terms of the Indenture which is in the
                          best interests of the Holders of the Securities; and

                                   (vi)    the Servicer shall (a) on or prior to any day which is a
                  Redemption Date, direct the Trustee to enter into contracts to dispose of the Collateral
                  Obligation and any other Collateral pursuant to the Indenture and otherwise comply with
                  all redemption procedures and certification requirements in the Indenture in order to
                  allow the Trustee to effect such redemption and (b) conduct auctions in accordance with
                  the terms of the Indenture.

                          (b)      In performing its duties hereunder, the Servicer shall seek to preserve the
value of the Collateral for the benefit of the Holders of the Securities taking into account the Collateral
criteria and limitations set forth herein and in the Indenture and the Servicer shall use reasonable efforts to
select and service the Collateral in such a way that will permit a timely performance of all payment
obligations by the Issuer under the Indenture; provided, that the Servicer shall not be responsible if such
objectives are not achieved so long as the Servicer performs its duties under this Agreement in the manner
provided for herein, and provided, further, that there shall be no recourse to the Servicer with respect to
the Notes or the Preference Shares. The Servicer and the Issuer shall take such other action, and furnish
such certificates, opinions and other documents, as may be reasonably requested by the other party hereto
in order to effectuate the purposes of this Agreement and to facilitate compliance with applicable laws
and regulations and the terms of this Agreement.

                          (c)     The Servicer hereby agrees to the following:

                                   (i)      The Servicer agrees not to cause the filing of a petition in
                  bankruptcy against the Issuer or the Co-Issuer until the payment in full of all Notes issued
                  under the Indenture and the payment to the Preference Shares Paying Agent of all
                  amounts payable with respect to the Preference Shares in accordance with the Priority of
                  Payments and the expiration of a period equal to the greater of (A) the applicable
                  preference period plus one day or (B) one year and one day following the payment.
                  Notwithstanding the foregoing, the Servicer may commence any legal action that is not a
                  bankruptcy, insolvency, liquidation or similar proceeding against the Issuer or the Co-
                  Issuer or any of their properties and may take any action it deems appropriate at any time
                  in any bankruptcy, insolvency, liquidation or similar proceeding and any other
                  Proceeding voluntarily commenced by the Issuer or the Co-Issuer or involuntarily
                  commenced against the Issuer or the Co-Issuer by anyone other than the Servicer or any



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                  Affiliate of the Servicer. The provisions of this Section 2(c)(i) shall survive termination
                  of this Agreement.

                                  (ii) The Servicer shall cause each sale or purchase of any Collateral
                  Obligation or Eligible Investment to be conducted on an arm’s-length basis.

                           (d)    The Servicer shall not act for the Issuer in any capacity except as
provided in this Section 2. In providing services hereunder, the Servicer may employ third parties,
including its Affiliates, to render advice (including advice with respect to the servicing of the Collateral)
and assistance; provided, however, that the Servicer shall not be relieved of any of its duties or liabilities
hereunder regardless of the performance of any services by third parties. Notwithstanding any other
provision of this Agreement, the Servicer shall not be required to take any action required of it pursuant to
this Agreement or the Indenture if such action would constitute a violation of any law.

                          (e)     Notwithstanding any other provision of this Agreement or the Indenture,
(i) any granted signatory powers or authority granted to the Servicer on behalf of the Issuer with respect
to the Special Procedures Obligations (as defined in Annex 1) shall be conditioned upon the prior written
approval of the Independent Advisor (as defined in Annex 1) and (ii) neither the Servicer nor any
Affiliate of the Servicer shall have any authority to enter into agreements, or take any action, on behalf of
the Issuer with respect to the Special Procedures Obligations without the prior written approval of the
Independent Advisor.

                  3.      Brokerage.

                 The Servicer shall seek to obtain the best prices and execution for all orders placed with
respect to the Collateral, considering all reasonable circumstances. Subject to the objective of obtaining
best prices and execution, the Servicer may take into consideration research and other brokerage services
furnished to the Servicer or its Affiliates by brokers and dealers which are not Affiliates of the Servicer.
Such services may be used by the Servicer or its Affiliates in connection with its other servicing or
advisory activities or operations. The Servicer may aggregate sales and purchase orders of securities
placed with respect to the Collateral with similar orders being made simultaneously for other accounts
serviced or managed by the Servicer or with accounts of the Affiliates of the Servicer, if in the Servicer’s
reasonable judgment such aggregation shall result in an overall economic benefit to the Issuer, taking into
consideration the advantageous selling or purchase price, brokerage commission and other expenses. In
the event that a sale or purchase of a Collateral Obligation or Eligible Investment (in accordance with the
terms of the Indenture) occurs as part of any aggregate sales or purchase orders, the objective of the
Servicer (and any of its Affiliates involved in such transactions) shall be to allocate the executions among
the accounts in an equitable manner and consistent with its obligations hereunder and under applicable
law.

                 In addition to the foregoing and subject to the provisions of Section 2 and the limitations
of Section 5, the objective of obtaining best prices and execution and to the extent permitted by applicable
law, the Servicer may, on behalf of the Issuer, direct the Trustee to acquire any and all of the Eligible
Investments or other Collateral from, or sell Collateral Obligations or other Collateral to, the Initial
Purchaser, the Trustee or any of their respective Affiliates, or any other firm.




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                  4.      Additional Activities of the Servicer.

                 Nothing herein shall prevent the Servicer or any of its Affiliates from engaging in other
businesses, or from rendering services of any kind to the Trustee, the Holders of the Securities, or any
other Person or entity to the extent permitted by applicable law. Without prejudice to the generality of the
foregoing, the Servicer and partners, directors, officers, employees and agents of the Servicer or its
Affiliates may, among other things, and subject to any limits specified in the Indenture:

                          (a)      serve as directors (whether supervisory or managing), officers, partners,
employees, agents, nominees or signatories for any issuer of any obligations included in the Collateral or
their respective Affiliates, to the extent permitted by their Governing Instruments, as from time to time
amended, or by any resolutions duly adopted by the Issuer, its Affiliates or any issuer of any obligations
included in the Collateral or their respective Affiliates, pursuant to their respective Governing
Instruments; provided, that in the reasonable judgment of the Servicer, such activity shall not have a
material adverse effect on the enforceability of Collateral or the ability of the Issuer to comply with each
Overcollateralization Ratio and each Interest Coverage Test; provided, further, that nothing in this
paragraph shall be deemed to limit the duties of the Servicer set forth in Section 2 hereof;

                          (b)       receive fees for services of any nature rendered to the issuer of any
obligations included in the Collateral or their respective Affiliates; provided, that in the reasonable
judgment of the Servicer, such activity shall not have a material adverse effect on the enforceability of
Collateral or the ability of the Issuer to comply with each Coverage Test; and provided, further, that if any
portion of such services are related to the purchase by the Issuer of any obligations included in the
Collateral, the portion of such fees relating to such obligations shall be applied to the purchase price of
such obligations; and

                          (c)    be a secured or unsecured creditor of, or hold an equity interest in, the
Issuer, its Affiliates or any issuer of any obligation included in the Collateral; provided, that in the
reasonable judgment of the Servicer, such activity shall not have a material adverse effect on the
enforceability of Collateral or the ability of the Issuer to comply with each Coverage Test; provided,
further, that nothing in this paragraph shall be deemed to limit the duties of the Servicer set forth in
Section 2 hereof.

                 It is understood that the Servicer and any of its Affiliates may engage in any other
business and furnish servicing, investment management and advisory services to others, including
Persons which may have policies similar to those followed by the Servicer with respect to the Collateral
and which may own securities of the same class, or which are the same type, as the Collateral Obligations
or other securities of the issuers of Collateral Obligations. The Servicer shall be free, in its sole discretion,
to make recommendations to others, or effect transactions on behalf of itself or for others, which may be
the same as or different from those effected with respect to the Collateral.

                 Unless the Servicer determines in its reasonable judgment that such purchase or sale is
appropriate, the Servicer may refrain from directing the purchase or sale hereunder of securities issued by
(i) Persons of which the Servicer, its Affiliates or any of its or their officers, directors or employees are
directors or officers, (ii) Persons for which the Servicer or its Affiliates act as financial adviser or
underwriter or (iii) Persons about which the Servicer or any of its Affiliates have information which the
Servicer deems confidential or non-public or otherwise might prohibit it from trading such securities in
accordance with applicable law. The Servicer shall not be obligated to have or pursue any particular
strategy or opportunity with respect to the Collateral.




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                  5.     Conflicts of Interest.

                         (a)      The Servicer shall not direct the Trustee to acquire an obligation to be
included in the Collateral from the Servicer or any of its Affiliates as principal or to sell an obligation to
the Servicer or any of its Affiliates as principal unless (i) the Issuer shall have received from the Servicer
such information relating to such acquisition or sale as it may reasonably require and shall have approved
such acquisition, which approval shall not be unreasonably withheld, (ii) in the commercially reasonable
judgment of the Servicer, such transaction is on terms no less favorable than would be obtained in a
transaction conducted on an arm’s length basis between third parties unaffiliated with each other and (iii)
such transaction is permitted by the United States Investment Advisers Act of 1940, as amended.

                         (b)      The Servicer shall not direct the Trustee to acquire an obligation to be
included in the Collateral directly from any account or portfolio for which the Servicer serves as servicer
or investment adviser, or direct the Trustee to sell an obligation directly to any account or portfolio for
which the Servicer serves as servicer or investment adviser unless such acquisition or sale is (i) in the
commercially reasonable judgment of the Servicer, on terms no less favorable than would be obtained in a
transaction conducted on an arm’s length basis between third parties unaffiliated with each other and
(ii) permitted by the United States Investment Advisers Act of 1940, as amended.

                        (c)     In addition, the Servicer shall not undertake any transaction described in
this Section 5 unless such transaction is exempt from the prohibited transaction rules of ERISA and
Section 4975 of the Code.

                  6.     Records; Confidentiality.

                 The Servicer shall maintain appropriate books of account and records relating to services
performed hereunder, and such books of account and records shall be accessible for inspection by a
representative of the Issuer, the Trustee, the Collateral Administrator, the Holders of the Securities and
the Independent accountants appointed by the Issuer pursuant to the Indenture at a mutually agreed time
during normal business hours and upon not less than three Business Days’ prior notice. At no time shall
the Servicer make a public announcement concerning the issuance of the Notes or the Preference Shares,
the Servicer’s role hereunder or any other aspect of the transactions contemplated by this Agreement and
the other Transaction Documents. The Servicer shall keep confidential any and all information obtained
in connection with the services rendered hereunder and shall not disclose any such information to
non-affiliated third parties except (i) with the prior written consent of the Issuer, (ii) such information as
either Rating Agency shall reasonably request in connection with the rating of any Class of Securities,
(iii) as required by law, regulation, court order or the rules or regulations of any self regulating
organization, body or official having jurisdiction over the Servicer, (iv) to its professional advisers,
(v) such information as shall have been publicly disclosed other than in violation of this Agreement, or
(vi) such information that was or is obtained by the Servicer on a non-confidential basis; provided, that
the Servicer does not know or have reason to know of any breach by such source of any confidentiality
obligations with respect thereto. For purposes of this Section 6, the Trustee, the Collateral Administrator
and the Holders of the Securities shall in no event be considered “non-affiliated third parties.”

                Notwithstanding anything in this Agreement or the Indenture to the contrary, the
Servicer, the Co-Issuers, the Trustee and the Holders of the Securities (and the beneficial owners thereof)
(and each of their respective employees, representatives or other agents) may disclose to any and all
Persons, without limitation of any kind, the U.S. tax treatment and U.S. tax structure of the transactions
contemplated by this Agreement and all materials of any kind (including opinions or other tax analyses)
that are provided to them relating to such U.S. tax treatment and U.S. tax structure, as such terms are
defined under U.S. federal, state or local tax law.


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                  7.    Obligations of Servicer.

                 Unless otherwise specifically required by any provision of the Indenture or this
Agreement or by applicable law, the Servicer shall use its best reasonable efforts to ensure that no action
is taken by it, and shall not intentionally or with reckless disregard take any action, which would
(a) materially adversely affect the Issuer or the Co-Issuer for purposes of Cayman Islands law, United
States federal or state law or any other law known to the Servicer to be applicable to the Issuer or the
Co-Issuer, (b) not be permitted under the Issuer’s Memorandum and Articles of Association or the
Co-Issuer’s Certificate of Incorporation or By-Laws, (c) violate any law, rule or regulation of any
governmental body or agency having jurisdiction over the Issuer or the Co-Issuer including, without
limitation, any Cayman Islands or United States federal, state or other applicable securities law the
violation of which has or could reasonably be expected to have a material adverse effect on the Issuer, the
Co-Issuer or any of the Collateral, (d) require registration of the Issuer, the Co-Issuer or the pool of
Collateral as an “investment company” under the Investment Company Act, (e) cause the Issuer or the
Co-Issuer to violate the terms of the Indenture, including, without limitation, any representations made by
the Issuer or Co-Issuer therein, or any other agreement contemplated by the Indenture or (f) not be
permitted by Annex 1 hereto and would subject the Issuer to U.S. federal or state income or franchise
taxation or cause the Issuer to be engaged in a trade or business in the United States for U.S. federal
income tax purposes. The Servicer covenants that it shall comply in all material respects with all laws
and regulations applicable to it in connection with the performance of its duties under this Agreement and
the Indenture. Notwithstanding anything in this Agreement to the contrary, the Servicer shall not be
required to take any action under this Agreement or the Indenture if such action would violate any
applicable law, rule, regulation or court order.

                  8.    Compensation.

                        (a)     The Issuer shall pay to the Servicer, for services rendered and
performance of its obligations under this Agreement, the Servicing Fee, which shall be payable in such
amounts and at such times as set forth in the Indenture. The provisions of the Indenture which relate to
the amount and payment of the Servicing Fee shall not be amended without the written consent of the
Servicer. If on any Payment Date there are insufficient funds to pay the Servicing Fee (and/or any other
amounts due and payable to the Servicer) in full, the amount not so paid shall be deferred and shall be
payable on such later Payment Date on which funds are available therefor as provided in the Indenture.

                 With respect to any Payment Date, the Servicer may, in its sole discretion, at any time
waive a portion (or all) of its Servicing Fees then due and payable. All waived amounts will be paid to
the Class II Preference Shares as Class II Preference Share Special Payments pursuant to the Indenture.
For purposes of any calculation under this Agreement and the Indenture, the Servicer shall be deemed to
have received the Servicing Fee in an amount equal to the sum of the Servicing Fee actually paid to the
Servicer and the amount distributed to the Holders of the Class II Preference Shares as Class II Preference
Share Special Payments.

                 In addition, notwithstanding anything set out above, the Servicer may, in its sole
discretion waive all or any portion of the Subordinated Servicing Fee or Supplemental Servicing Fee, any
funds representing the waived Subordinated Servicing Fees and Supplemental Servicing Fees to be
retained in the Collection Account for distribution as either Interest Proceeds or Principal Proceeds (as
determined by the Servicer) pursuant to the Priority of Payments.

                      (b)     The Servicer shall be responsible for the ordinary expenses incurred in
the performance of its obligations under this Agreement, the Indenture and the other Transaction
Documents; provided, however, that any extraordinary expenses incurred by the Servicer in the


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 performance of such obligations (including, but not limited to, any fees, expenses or other amounts
 payable to the Rating Agencies, the Collateral Administrator, the Trustee and the accountants appointed
 by the Issuer, the reasonable expenses incurred by the Servicer to employ outside lawyers or consultants
 reasonably necessary in connection with the evaluation, transfer or restructuring of any Collateral
 Obligation or other unusual matters arising in the performance of its duties under this Agreement and the
 Indenture, any reasonable expenses incurred by the Servicer in obtaining advice from outside counsel
 with respect to its obligations under this Agreement, brokerage commissions, transfer fees, registration
 costs, taxes and other similar costs and transaction related expenses and fees arising out of transactions
 effected for the Issuer’s account and the portion allocated to the Issuer of any other fees and expenses that
 the Servicer customarily allocates among all of the funds or portfolios that it services or manages,
 including reasonable expenses incurred with respect to any compliance requirements, including, but not
 limited to, compliance with the requirements of the Sarbanes-Oxley Act, related solely to the ownership
 or holding of any Securities by HFP or any of its subsidiaries) shall be reimbursed by the Issuer to the
 extent funds are available therefor in accordance with and subject to the Priority of Payments and other
 limitations contained in the Indenture.

                         (c)     If this Agreement is terminated pursuant to Section 12, Section 14 or
 otherwise, the fees payable to the Servicer shall be prorated for any partial periods between Payment
 Dates during which this Agreement was in effect and shall be due and payable on the first Payment Date
 following the date of such termination and on any subsequent Payment Dates to the extent remaining
 unpaid and in accordance with, and to the extent provided in, the Indenture.

                   9.     Benefit of the Agreement.

                  The Servicer agrees that its obligations hereunder shall be enforceable at the instance of
 the Issuer, the Trustee, on behalf of the Noteholders, or the requisite percentage of Noteholders or the
 Holders of the Preference Shares, as applicable, as provided in the Indenture or the Preference Shares
 Paying Agency Agreement, as applicable.

                   10.    Limits of Servicer Responsibility; Indemnification.

                           (a)       The Servicer assumes no responsibility under this Agreement other than
 to render the services called for hereunder and under the terms of the other Transaction Documents made
 applicable to it pursuant to the terms of this Agreement in good faith and, subject to the standard of
 liability described in the next sentence, shall not be responsible for any action of the Issuer or the Trustee
 in following or declining to follow any advice, recommendation or direction of the Servicer. The
 Servicer, its directors, officers, stockholders, partners, agents and employees, and its Affiliates and their
 directors, officers, stockholders, partners, agents and employees, shall not be liable to the Issuer, the
 Co-Issuer, the Trustee, the Preference Shares Paying Agent, the Holders of the Securities or any other
 person, for any losses, claims, damages, judgments, assessments, costs or other liabilities (collectively,
 “Liabilities”) incurred by the Issuer, the Co-Issuer, the Trustee, the Preference Shares Paying Agent, the
 Holders of the Securities or any other person, that arise out of or in connection with the performance by
 the Servicer of its duties under this Agreement and under the terms of the other Transaction Documents
 made applicable to it pursuant to the terms of this Agreement, except by reason of (i) acts or omissions
 constituting bad faith, willful misconduct, gross negligence or breach of fiduciary duty in the
 performance, or reckless disregard, of the obligations of the Servicer hereunder and under the terms of the
 other Transaction Documents made applicable to it pursuant to the terms of this Agreement or (ii) with
 respect to any information included in the Offering Memorandum in the section entitled “The Servicer”
 that contains any untrue statement of material fact or omits to state a material fact necessary in order to
 make the statements therein, in the light of the circumstances under which they were made, not
 misleading (the preceding clauses (i) and (ii) collectively being the “Servicer Breaches”). For the


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 avoidance of doubt, the Servicer shall have no duty to independently investigate any laws not otherwise
 known to it in connection with its obligations under this Agreement, the Indenture and the other
 Transaction Documents. The Servicer shall be deemed to have satisfied the requirements of the Indenture
 and this Agreement relating to not causing the Issuer to be treated as engaged in a trade or business in the
 United States for U.S. federal income tax purposes (including as those requirements relate to the
 acquisition (including manner of acquisition), ownership, enforcement, and disposition of Collateral) to
 the extent the Servicer complies with the requirements set forth in Annex 1 hereto (unless the Servicer
 knows that as a result of a change in law the investment restrictions set forth in Annex 1 may no longer be
 relied upon).

                           (b)    The Issuer shall indemnify and hold harmless (the Issuer in such case,
 the “Indemnifying Party”) the Servicer, its directors, officers, stockholders, partners, agents and
 employees (such parties collectively in such case, the “Indemnified Parties”) from and against any and all
 Liabilities, and shall reimburse each such Indemnified Party for all reasonable fees and expenses
 (including reasonable fees and expenses of counsel) (collectively, the “Expenses”) as such Expenses are
 incurred in investigating, preparing, pursuing or defending any claim, action, proceeding or investigation
 with respect to any pending or threatened litigation (collectively, the “Actions”), caused by, or arising out
 of or in connection with, the issuance of the Securities, the transactions contemplated by the Offering
 Memorandum, the Indenture or this Agreement, and/or any action taken by, or any failure to act by, such
 Indemnified Party; provided, however, that no Indemnified Party shall be indemnified for any Liabilities
 or Expenses it incurs as a result of any acts or omissions by any Indemnified Party constituting Servicer
 Breaches. Notwithstanding anything contained herein to the contrary, the obligations of the Issuer under
 this Section 10 shall be payable solely out of the Collateral in accordance with, and subject to, the Priority
 of Payments and shall survive termination of this Agreement.

                          (c)     With respect to any claim made or threatened against an Indemnified
 Party, or compulsory process or request or other notice of any loss, claim, damage or liability served upon
 an Indemnified Party, for which such Indemnified Party is or may be entitled to indemnification under
 this Section 10, such Indemnified Party shall (or with respect to Indemnified Parties that are directors,
 officers, stockholders, agents or employees of the Servicer, the Servicer shall cause such Indemnified
 Party to):

                                   (i)       give written notice to the Indemnifying Party of such claim
                   within ten (10) days after such Indemnified Party’s receipt of actual notice that such
                   claim is made or threatened, which notice to the Indemnifying Party shall specify in
                   reasonable detail the nature of the claim and the amount (or an estimate of the amount) of
                   the claim; provided, however, that the failure of any Indemnified Party to provide such
                   notice to the Indemnifying Party shall not relieve the Indemnifying Party of its
                   obligations under this Section 10 unless the Indemnifying Party is materially prejudiced
                   or otherwise forfeits rights or defenses by reason of such failure;

                                    (ii)  at the Indemnifying Party’s expense, provide the Indemnifying
                   Party such information and cooperation with respect to such claim as the Indemnifying
                   Party may reasonably require, including, but not limited to, making appropriate personnel
                   available to the Indemnifying Party at such reasonable times as the Indemnifying Party
                   may request;

                                   (iii)  at the Indemnifying Party’s expense, cooperate and take all such
                   steps as the Indemnifying Party may reasonably request to preserve and protect any
                   defense to such claim;




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                                    (iv)    in the event suit is brought with respect to such claim, upon
                   reasonable prior notice, afford to the Indemnifying Party the right, which the
                   Indemnifying Party may exercise in its sole discretion and at its expense, to participate in
                   the investigation, defense and settlement of such claim;

                                    (v)     neither incur any material expense to defend against nor release
                   or settle any such claim or make any admission with respect thereto (other than routine or
                   incontestable admissions or factual admissions the failure to make which would expose
                   such Indemnified Party to unindemnified liability) nor permit a default or consent to the
                   entry of any judgment in respect thereof, in each case without the prior written consent of
                   the Indemnifying Party; and

                                     (vi)    upon reasonable prior notice, afford to the Indemnifying Party
                   the right, in its sole discretion and at its sole expense, to assume the defense of such
                   claim, including, but not limited to, the right to designate counsel reasonably acceptable
                   to the Indemnified Party and to control all negotiations, litigation, arbitration, settlements,
                   compromises and appeals of such claim; provided, that if the Indemnifying Party assumes
                   the defense of such claim, it shall not be liable for any fees and expenses of counsel for
                   any Indemnified Party incurred thereafter in connection with such claim except that if
                   such Indemnified Party reasonably determines that counsel designated by the
                   Indemnifying Party has a conflict of interest in connection with its representation of such
                   Indemnified Party, such Indemnifying Party shall pay the reasonable fees and
                   disbursements of one counsel (in addition to any local counsel) separate from its own
                   counsel for all Indemnified Parties in connection with any one action or separate but
                   similar or related actions in the same jurisdiction arising out of the same general
                   allegations or circumstances; provided, further, that prior to entering into any final
                   settlement or compromise, such Indemnifying Party shall seek the consent of the
                   Indemnified Party and use its commercially reasonable efforts in the light of the then
                   prevailing circumstances (including, without limitation, any express or implied time
                   constraint on any pending settlement offer) to obtain the consent of such Indemnified
                   Party as to the terms of settlement or compromise. If an Indemnified Party does not
                   consent to the settlement or compromise within a reasonable time under the
                   circumstances, the Indemnifying Party shall not thereafter be obligated to indemnify the
                   Indemnified Party for any amount in excess of such proposed settlement or compromise.

                         (d)     In the event that any Indemnified Party waives its right to
 indemnification hereunder, the Indemnifying Party shall not be entitled to appoint counsel to represent
 such Indemnified Party nor shall the Indemnifying Party reimburse such Indemnified Party for any costs
 of counsel to such Indemnified Party.

                          (e)     The U.S. federal securities laws impose liabilities under certain
 circumstances on persons who act in good faith; accordingly, notwithstanding any other provision of this
 Agreement, nothing herein shall in any way constitute a waiver or limitation of any rights which the
 Issuer or the Holders of the Securities may have under any U.S. federal securities laws.

                   11.     No Partnership or Joint Venture.

                  The Issuer and the Servicer are not partners or joint venturers with each other and nothing
 herein shall be construed to make them such partners or joint venturers or impose any liability as such on
 either of them. The Servicer’s relation to the Issuer shall be deemed to be that of an independent
 contractor.


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                   12.     Term; Termination.

                           (a)       This Agreement shall commence as of the date first set forth above and
 shall continue in force and effect until the first of the following occurs: (i) the payment in full of the
 Notes, the termination of the Indenture in accordance with its terms and the redemption in full of the
 Preference Shares; (ii) the liquidation of the Collateral and the final distribution of the proceeds of such
 liquidation to the Holders of the Securities; or (iii) the termination of this Agreement in accordance with
 subsection (b), (c), (d) or (e) of this Section 12 or Section 14 of this Agreement.

                          (b)      Subject to Section 12(e) below, the Servicer may resign, upon 90 days’
 written notice to the Issuer (or such shorter notice as is acceptable to the Issuer). If the Servicer resigns,
 the Issuer agrees to appoint a successor servicer to assume such duties and obligations in accordance with
 Section 12(e).

                        (c)     This Agreement shall be automatically terminated in the event that the
 Issuer determines in good faith that the Issuer or the pool of Collateral has become required to be
 registered under the provisions of the Investment Company Act, and the Issuer notifies the Servicer
 thereof.

                          (d)      If this Agreement is terminated pursuant to this Section 12, neither party
 shall have any further liability or obligation to the other, except as provided in Sections 2(c)(i), 8, 10 and
 15 of this Agreement.

                           (e)      No removal or resignation of the Servicer shall be effective unless:

                                     (i)     (A) the Issuer appoints a successor servicer at the written
                   direction of a Majority of the Preference Shares (excluding any Preference Shares held by
                   the retiring Servicer, any of its Affiliates or any account over which the retiring Servicer
                   or its Affiliates have discretionary voting authority other than, with respect to the Class II
                   Preference Shares owned by HFP or its subsidiaries; provided that, with respect to the
                   voting authority of Class II Preference Shares owned by HFP or any of its subsidiaries,
                   such vote shall not be excluded only if such vote is determined by a vote of the majority
                   of the “independent directors” (determined in accordance with the governing documents
                   of HFP or such subsidiaries and certified in writing to the Preference Shares Paying
                   Agent by any of the “independent directors” of HFP) of HFP or such subsidiaries) (each
                   such non-excluded Preference Share, a “Voting Preference Share”), (B) such successor
                   servicer has agreed in writing to assume all of the retiring Servicer’s duties and
                   obligations pursuant to this Agreement and the Indenture and (C) such successor servicer
                   is not objected to within 30 days after notice of such succession by either (x) a Super
                   Majority of the Controlling Class of Notes (excluding any Notes held by the retiring
                   Servicer, its Affiliates or any account over which the retiring Servicer or its Affiliates
                   have discretionary voting authority other than HFP; provided that, with respect to the
                   voting authority of Notes owned by HFP or any of its subsidiaries, such vote shall not be
                   excluded only if such vote is determined by a vote of the majority of the “independent
                   directors” (determined in accordance with the governing documents of HFP or such
                   subsidiaries and certified in writing to the Trustee by any of the “independent directors”
                   of HFP) of HFP or such subsidiaries) (each such non-excluded Note, a “Voting Note”) or
                   (y) a Majority in Aggregate Outstanding Amount of the Voting Notes (voting as a single
                   class); or




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                                     (ii)    if a Majority of the Voting Preference Shares has nominated two
                   or more successor servicers that have been objected to pursuant to the preceding clause
                   (i)(C) or has failed to appoint a successor servicer that has not been objected to pursuant
                   to the preceding clause (i)(C) within 60 days of the date of notice of such removal or
                   resignation of the Servicer, (A) the Issuer appoints a successor servicer at the written
                   direction of a Super Majority of the Controlling Class of Notes (excluding any Notes that
                   are not Voting Notes), (B) such successor servicer has agreed in writing to assume all of
                   the retiring Servicer’s duties and obligations pursuant to this Agreement and the
                   Indenture and (C) such successor servicer is not objected to within 30 days after notice of
                   such succession by either (x) a Majority of the Voting Preference Shares (voting as a
                   single class) or (y) a Majority in Aggregate Outstanding Amount of the Voting Notes
                   (voting as a single class); provided, that if a Majority of the Voting Preference Shares
                   and a Super Majority of the Controlling Class (excluding any Notes that are not Voting
                   Notes) have each nominated two or more successor servicers that have been objected to
                   pursuant to the preceding clauses (i)(C) and (ii)(C) or have otherwise failed to appoint a
                   successor servicer that has not been objected to pursuant to the preceding clause (i)(C) or
                   (ii)(C) within 120 days of the date of notice of such removal or resignation of the
                   Servicer, (A) any Holder of the Controlling Class (excluding any Notes that are not
                   Voting Notes), any Holder of Voting Preference Shares or the Trustee petitions a court of
                   competent authority to appoint a successor servicer, (B) such court appoints a successor
                   servicer and (C) such successor servicer has agreed in writing to assume all of the retiring
                   Servicer’s duties and obligations pursuant to this Agreement and the Indenture.

                  In addition, any successor servicer must be an established institution which (i) has
 demonstrated an ability to professionally and competently perform duties similar to those imposed upon
 the Servicer hereunder, (ii) is legally qualified and has the capacity to act as Servicer hereunder, as
 successor to the Servicer under this Agreement in the assumption of all of the responsibilities, duties and
 obligations of the Servicer hereunder and under the applicable terms of the Indenture, (iii) shall not cause
 the Issuer or the pool of Collateral to become required to register under the provisions of the Investment
 Company Act, (iv) shall perform its duties as successor servicer under this Agreement and the Indenture
 without causing the Issuer, the Co-Issuer or any Holder of Preference Shares to become subject to tax in
 any jurisdiction where such successor servicer is established as doing business and (v) each Rating
 Agency has confirmed that the appointment of such successor servicer shall not cause its then-current
 rating of any Class of Notes to be reduced or withdrawn. No compensation payable to a successor
 servicer from payments on the Collateral shall be greater than that paid to the retiring Servicer without the
 prior written consent of a Super Majority of the Controlling Class of Notes, a Majority of the Noteholders
 and a Majority of the Preference Shares. The Issuer, the Trustee and the successor servicer shall take
 such action (or cause the retiring Servicer to take such action) consistent with this Agreement and the
 terms of the Indenture applicable to the Servicer, as shall be necessary to effectuate any such succession.

                            (f)     In the event of removal of the Servicer pursuant to this Agreement, the
 Issuer shall have all of the rights and remedies available with respect thereto at law or equity, and, without
 limiting the foregoing, the Issuer or, to the extent so provided in the Indenture, the Trustee may by notice
 in writing to the Servicer as provided under this Agreement terminate all the rights and obligations of the
 Servicer under this Agreement (except those that survive termination pursuant to Section 12(d) above).
 Upon expiration of the applicable notice period with respect to termination specified in this Section 12 or
 Section 14 of this Agreement, as applicable, all authority and power of the Servicer under this Agreement,
 whether with respect to the Collateral or otherwise, shall automatically and without further action by any
 person or entity pass to and be vested in the successor servicer upon the appointment thereof.




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                   13.    Delegation; Assignments.

                  This Agreement, and any obligations or duties of the Servicer hereunder, shall not be
 delegated by the Servicer, in whole or in part, except to any entity that (i) is controlled by any of James
 Dondero, Mark Okada and Todd Travers and (ii) is one in which any of James Dondero, Mark Okada and
 Todd Travers is involved in the day to day management and operations (and in any such case pursuant to
 an instrument of delegation in form and substance satisfactory to the Issuer), without the prior written
 consent of the Issuer, a Super Majority of the Controlling Class of Notes (excluding any Notes that are
 not Voting Notes) and a Majority of the Voting Preference Shares and, notwithstanding any such consent,
 no delegation of obligations or duties by the Servicer (including, without limitation, to an entity described
 above) shall relieve the Servicer from any liability hereunder.

                  Subject to Section 12, any assignment of this Agreement to any Person, in whole or in
 part, by the Servicer shall be deemed null and void unless (i) such assignment is consented to in writing
 by the Issuer, a Majority of Noteholders and the Holders of a Majority of the Preference Shares
 (excluding Notes and Preference Shares held by the Servicer or any of its Affiliates other than HFP) and
 (ii) the Rating Condition is satisfied with respect to any such assignment. Any assignment consented to
 by the Issuer, a Majority of Noteholders and the Holders of Preference Shares shall bind the assignee
 hereunder in the same manner as the Servicer is bound. In addition, the assignee shall execute and deliver
 to the Issuer and the Trustee a counterpart of this Agreement naming such assignee as Servicer. Upon the
 execution and delivery of such a counterpart by the assignee and consent thereto by the Issuer, a Majority
 of Noteholders and the Holders of the Preference Shares, the Servicer shall be released from further
 obligations pursuant to this Agreement, except with respect to its obligations arising under Section 10 of
 this Agreement prior to such assignment and except with respect to its obligations under Sections 2(c)(i)
 and 15 hereof. This Agreement shall not be assigned by the Issuer without the prior written consent of the
 Servicer and the Trustee, except in the case of assignment by the Issuer to (i) an entity which is a
 successor to the Issuer permitted under the Indenture, in which case such successor organization shall be
 bound hereunder and by the terms of said assignment in the same manner as the Issuer is bound
 thereunder or (ii) the Trustee as contemplated by the Indenture. In the event of any assignment by the
 Issuer, the Issuer shall cause its successor to execute and deliver to the Servicer such documents as the
 Servicer shall consider reasonably necessary to effect fully such assignment. The Servicer hereby
 consents to the matters set forth in Article 15 of the Indenture.

                   14.    Termination by the Issuer for Cause.

                   Subject to Section 12(e) above, this Agreement shall be terminated and the Servicer shall
 be removed by the Issuer for cause upon 10 days’ prior written notice to the Servicer and upon written
 notice to the Holders of the Securities as set forth below, but only if directed to do so by the Trustee
 acting at the direction of (1) a Super Majority of the Controlling Class of Notes (excluding any Notes that
 are not Voting Notes) or (2) a Majority of the Voting Preference Shares (excluding any Preference Shares
 that are not Voting Preference Shares). For purposes of determining “cause” with respect to any such
 termination of this Agreement, such term shall mean any one of the following events:

                         (a)      the Servicer willfully breaches in any respect, or takes any action that it
 knows violates in any respect, any provision of this Agreement or any terms of the Indenture applicable to
 it;

                          (b)    the Servicer breaches in any material respect any provision of this
 Agreement or any terms of the Indenture or the Collateral Administration Agreement applicable to it, or
 any representation, warranty, certification or statement given in writing by the Servicer shall prove to
 have been incorrect in any material respect when made or given, and the Servicer fails to cure such breach


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 or take such action so that the facts (after giving effect to such action) conform in all material respects to
 such representation, warranty, certificate or statement, in each case within 30 days of becoming aware of,
 or receiving notice from, the Trustee of, such breach or materially incorrect representation, warranty,
 certificate or statement;

                            (c)     the Servicer is wound up or dissolved (other than a dissolution in which
 the remaining members elect to continue the business of the Servicer in accordance with its Governing
 Instruments) or there is appointed over it or a substantial portion of its assets a receiver, administrator,
 administrative receiver, trustee or similar officer, or the Servicer (i) ceases to be able to, or admits in
 writing its inability to, pay its debts as they become due and payable, or makes a general assignment for
 the benefit of or enters into any composition or arrangement with, its creditors generally; (ii) applies for
 or consents (by admission of material allegations of a petition or otherwise) to the appointment of a
 receiver, trustee, assignee, custodian, liquidator or sequestrator (or other similar official) of the Servicer
 or of any substantial part of its properties or assets, or authorizes such an application or consent, or
 proceedings seeking such appointment are commenced without such authorization, consent or application
 against the Servicer and continue undismissed for 60 days; (iii) authorizes or files a voluntary petition in
 bankruptcy, or applies for or consents (by admission of material allegations of a petition or otherwise) to
 the application of any bankruptcy, reorganization, arrangement, readjustment of debt, insolvency or
 dissolution, or authorizes such application or consent, or proceedings to such end are instituted against the
 Servicer without such authorization, application or consent and are approved as properly instituted and
 remain undismissed for 60 days or result in adjudication of bankruptcy or insolvency; or (iv) permits or
 suffers all or any substantial part of its properties or assets to be sequestered or attached by court order
 and the order remains undismissed for 60 days;

                          (d)     the occurrence of any Event of Default under the Indenture that results
 from any breach by the Servicer of its duties under the Indenture or this Agreement, which breach or
 default is not cured within any applicable cure period; or

                           (e)     (x) the occurrence of an act by the Servicer related to its activities in any
 servicing, securities, financial advisory or other investment business that constitutes fraud, (y) the
 Servicer being indicted, or any of its principals being convicted, of a felony criminal offense related to its
 activities in any servicing, securities, financial advisory or other investment business or (z) the Servicer
 being indicted for, adjudged liable in a civil suit for, or convicted of a violation of the Securities Act or
 any other United States Federal securities law or any rules or regulations thereunder.

                  If any of the events specified in this Section 14 shall occur, the Servicer shall give prompt
 written notice thereof to the Issuer, the Trustee and the Holders of all outstanding Notes and Preference
 Shares upon the Servicer’s becoming aware of the occurrence of such event.

                   15.     Action Upon Termination.

                        (a)      From and after the effective date of termination of this Agreement, the
 Servicer shall not be entitled to compensation for further services hereunder, but shall be paid all
 compensation accrued to the date of termination, as provided in Section 8 hereof, and shall be entitled to
 receive any amounts owing under Section 10 hereof. Upon the effective date of termination of this
 Agreement, the Servicer shall as soon as practicable:

                                    (i)     deliver to the Issuer all property and documents of the Trustee or
                   the Issuer or otherwise relating to the Collateral then in the custody of the Servicer; and




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                                   (ii)  deliver to the Trustee and the Preference Shares Paying Agent an
                   accounting with respect to the books and records delivered to the Trustee and the
                   Preference Shares Paying Agent or the successor servicer appointed pursuant to
                   Section 12(e) hereof.

                  Notwithstanding such termination, the Servicer shall remain liable to the extent set forth
 herein (but subject to Section 10 hereof) for its acts or omissions hereunder arising prior to termination
 and for any expenses, losses, damages, liabilities, demands, charges and claims (including reasonable
 attorneys’ fees) in respect of or arising out of a breach of the representations and warranties made by the
 Servicer in Section 16(b) hereof or from any failure of the Servicer to comply with the provisions of this
 Section 15.

                          (b)     The Servicer agrees that, notwithstanding any termination of this
 Agreement, it shall reasonably cooperate in any Proceeding arising in connection with this Agreement,
 the Indenture or any of the Collateral (excluding any such Proceeding in which claims are asserted against
 the Servicer or any Affiliate of the Servicer) upon receipt of appropriate indemnification and expense
 reimbursement.

                   16.     Representations and Warranties.

                           (a)     The Issuer hereby represents and warrants to the Servicer as follows:

                                    (i)     The Issuer has been duly incorporated and is validly existing
                   under the laws of the Cayman Islands, has full power and authority to own its assets and
                   the securities proposed to be owned by it and included in the Collateral and to transact the
                   business in which it is presently engaged and is duly qualified under the laws of each
                   jurisdiction where its ownership or lease of property or the conduct of its business
                   requires, or the performance of its obligations under this Agreement, the Indenture or the
                   Securities would require, such qualification, except for failures to be so qualified,
                   authorized or licensed that would not in the aggregate have a material adverse effect on
                   the business, operations, assets or financial condition of the Issuer.

                                     (ii)    The Issuer has full power and authority to execute, deliver and
                   perform its obligations pursuant to this Agreement, the other Transaction Documents and
                   the Securities and all obligations required hereunder and thereunder and has taken all
                   necessary action to authorize this Agreement, the other Transaction Documents and the
                   Securities on the terms and conditions hereof and thereof and the execution by the Issuer,
                   delivery and performance of its obligations pursuant to this Agreement, the other
                   Transaction Documents and the Securities and the performance of all obligations
                   imposed upon it hereunder and thereunder. No consent of any other person including,
                   without limitation, shareholders and creditors of the Issuer, and no license, permit,
                   approval or authorization of, exemption by, notice or report to, or registration, filing or
                   declaration with, any governmental authority, other than those that may be required under
                   state securities or “blue sky” laws and those that have been or shall be obtained in
                   connection with the other Transaction Documents and the Securities is required by the
                   Issuer in connection with this Agreement, the other Transaction Documents and the
                   Securities or the execution, delivery, performance, validity or enforceability of this
                   Agreement, the other Transaction Documents and the Securities or the obligations
                   imposed upon it hereunder or thereunder. This Agreement constitutes, and each
                   instrument or document required hereunder, when executed and delivered hereunder,
                   shall constitute, the legally valid and binding obligation of the Issuer enforceable against


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                   the Issuer in accordance with its terms, subject to (a) the effect of bankruptcy, insolvency
                   or similar laws affecting generally the enforcement of creditors’ rights and (b) general
                   equitable principles.

                                    (iii)   The execution by the Issuer, delivery and performance of this
                   Agreement and the documents and instruments required hereunder shall not violate any
                   provision of any existing law or regulation binding on the Issuer, or any order, judgment,
                   award or decree of any court, arbitrator or governmental authority binding on the Issuer,
                   or the Governing Instruments of, or any securities issued by, the Issuer or of any
                   mortgage, indenture, lease, contract or other agreement, instrument or undertaking to
                   which the Issuer is a party or by which the Issuer or any of its assets may be bound, the
                   violation of which would have a material adverse effect on the business, operations,
                   assets or financial condition of the Issuer, and shall not result in or require the creation or
                   imposition of any lien on any of its property, assets or revenues pursuant to the provisions
                   of any such mortgage, indenture, lease, contract or other agreement, instrument or
                   undertaking (other than the lien of the Indenture).

                                    (iv)    The Issuer is not in violation of its Governing Instruments or in
                   breach or violation of or in default under the Indenture or any contract or agreement to
                   which it is a party or by which it or any of its assets may be bound, or any applicable
                   statute or any rule, regulation or order of any court, government agency or body having
                   jurisdiction over the Issuer or its properties, the breach or violation of which or default
                   under which would have a material adverse effect on the validity or enforceability of this
                   Agreement or the performance by the Issuer of its duties hereunder.

                                  (v)     True and complete copies of the Indenture and the Issuer’s
                   Governing Instruments have been delivered to the Servicer.

                 The Issuer agrees to deliver a true and complete copy of each amendment to the
 documents referred to in Section 16(a)(v) above to the Servicer as promptly as practicable after its
 adoption or execution.

                           (b)      The Servicer hereby represents and warrants to the Issuer as follows:

                                    (i)     The Servicer is a limited partnership duly organized and validly
                   existing and in good standing under the laws of the State of Delaware, has full power and
                   authority to own its assets and to transact the business in which it is currently engaged
                   and is duly qualified and in good standing under the laws of each jurisdiction where its
                   ownership or lease of property or the conduct of its business requires, or the performance
                   of this Agreement would require such qualification, except for those jurisdictions in
                   which the failure to be so qualified, authorized or licensed would not have a material
                   adverse effect on the business, operations, assets or financial condition of the Servicer or
                   on the ability of the Servicer to perform its obligations under, or on the validity or
                   enforceability of, this Agreement and the provisions of the other Transaction Documents
                   applicable to the Servicer.

                                   (ii)    The Servicer has full power and authority to execute, deliver and
                   perform this Agreement and all obligations required hereunder and under the provisions
                   of the other Transaction Documents applicable to the Servicer, and has taken all
                   necessary action to authorize this Agreement on the terms and conditions hereof and the
                   execution, delivery and performance of this Agreement and all obligations required



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                   hereunder and under the terms of the other Transaction Documents applicable to the
                   Servicer. No consent of any other person, including, without limitation, creditors of the
                   Servicer, and no license, permit, approval or authorization of, exemption by, notice or
                   report to, or registration, filing or declaration with, any governmental authority is
                   required by the Servicer in connection with this Agreement or the execution, delivery,
                   performance, validity or enforceability of this Agreement or the obligations required
                   hereunder or under the terms of the other Transaction Documents applicable to the
                   Servicer. This Agreement has been, and each instrument and document required
                   hereunder or under the terms of the other Transaction Documents applicable to the
                   Servicer shall be, executed and delivered by a duly authorized partner of the Servicer, and
                   this Agreement constitutes, and each instrument and document required hereunder or
                   under the terms of the other Transaction Documents applicable to the Servicer when
                   executed and delivered by the Servicer hereunder or under the terms of the other
                   Transaction Documents applicable to the Servicer shall constitute, the valid and legally
                   binding obligations of the Servicer enforceable against the Servicer in accordance with
                   their terms, subject to (a) the effect of bankruptcy, insolvency or similar laws affecting
                   generally the enforcement of creditors’ rights and (b) general equitable principles.

                                   (iii)    The execution, delivery and performance of this Agreement and
                   the terms of the other Transaction Documents applicable to the Servicer and the
                   documents and instruments required hereunder or under the terms of the other
                   Transaction Documents applicable to the Servicer shall not violate or conflict with any
                   provision of any existing law or regulation binding on or applicable to the Servicer, or
                   any order, judgment, award or decree of any court, arbitrator or governmental authority
                   binding on the Servicer, or the Governing Instruments of, or any securities issued by the
                   Servicer or of any mortgage, indenture, lease, contract or other agreement, instrument or
                   undertaking to which the Servicer is a party or by which the Servicer or any of its assets
                   may be bound, the violation of which would have a material adverse effect on the
                   business, operations, assets or financial condition of the Servicer or its ability to perform
                   its obligations under this Agreement and the provisions of the other Transaction
                   Documents applicable to the Servicer, and shall not result in or require the creation or
                   imposition of any lien on any of its material property, assets or revenues pursuant to the
                   provisions of any such mortgage, indenture, lease, contract or other agreement,
                   instrument or undertaking.

                                   (iv)    There is no charge, investigation, action, suit or proceeding
                   before or by any court pending or, to the best knowledge of the Servicer, threatened that,
                   if determined adversely to the Servicer, would have a material adverse effect upon the
                   performance by the Servicer of its duties under, or on the validity or enforceability of,
                   this Agreement and the provisions of the other Transaction Documents applicable to the
                   Servicer.

                                 (v)      The Servicer is a registered investment adviser under the
                   Investment Advisers Act.

                                    (vi)     The Servicer is not in violation of its Governing Instruments or
                   in breach or violation of or in default under any contract or agreement to which it is a
                   party or by which it or any of its property may be bound, or any applicable statute or any
                   rule, regulation or order of any court, government agency or body having jurisdiction
                   over the Servicer or its properties, the breach or violation of which or default under which
                   would have a material adverse effect on the validity or enforceability of this Agreement


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                   or the provisions of the other Transaction Documents applicable to the Servicer, or the
                   performance by the Servicer of its duties hereunder.

                   17.      Notices.

                  Unless expressly provided otherwise herein, all notices, requests, demands and other
 communications required or permitted under this Agreement shall be in writing (including by telecopy)
 and shall be deemed to have been duly given, made and received when delivered against receipt or upon
 actual receipt of registered or certified mail, postage prepaid, return receipt requested, or, in the case of
 telecopy notice, when received in legible form, addressed as set forth below:

                   (a) If to the Issuer:

                   Aberdeen Loan Funding, Ltd.
                   c/o Walkers SPV Limited
                   Walker House
                   87 Mary Street
                   George Town, Grand Cayman, KY1-9002, Cayman Islands
                   Telephone: (345) 945-3727
                   Telecopy: (345) 945-4757
                   Attention: The Directors

                   (b) If to the Servicer:

                   Highland Capital Management, L.P.
                   Two Galleria Tower
                   13455 Noel Road, Suite 1300
                   Dallas, Texas 75240
                   Telephone: (972) 628-4100
                   Telecopy: (972) 628-4147
                   Attention: James Dondero

                   (c) If to the Trustee:

                   State Street Bank and Trust Company
                   200 Clarendon Street
                   Mail Code: EUC-108
                   Boston, Massachusetts 02116
                   Telecopy: (617) 351-4358
                   Attention: CDO Services Group

                   (d) If to the Noteholders:

                 In accordance with Section 14.3 of the Indenture, at their respective addresses set forth on
 the Note Register.

                   (e) If to the Holders of the Preference Shares:

                  In accordance with Section 14.3 of the Indenture, to the Preference Shares Paying Agent
 at the address identified therein.




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                   (f) if to the Rating Agencies:

                  In accordance with Section 14.3 of the Indenture, to the Rating Agencies at the address
 identified therein.

                  Any party may alter the address or telecopy number to which communications or copies
 are to be sent by giving notice of such change of address in conformity with the provisions of this
 Section 17 for the giving of notice.

                   18.     Binding Nature of Agreement; Successors and Assigns.

                  This Agreement shall be binding upon and inure to the benefit of the parties hereto and
 their respective heirs, personal representatives, successors and permitted assigns as provided herein. The
 Servicer hereby consents to the collateral assignment of this Agreement as provided in the Indenture and
 further agrees that the Trustee may enforce the Servicer’s obligations hereunder.

                   19.     Entire Agreement.

                  This Agreement contains the entire agreement and understanding among the parties
 hereto with respect to the subject matter hereof, and supersedes all prior and contemporaneous
 agreements, understandings, inducements and conditions, express or implied, oral or written, of any
 nature whatsoever with respect to the subject matter hereof. The express terms hereof control and
 supersede any course of performance and/or usage of the trade inconsistent with any of the terms hereof.
 This Agreement may not be modified or amended other than by an agreement in writing executed by the
 parties hereto and in accordance with the terms of Section 15.1(h) of the Indenture.

                   20.     Conflict with the Indenture.

                  Subject to the last two sentences of Section 2(a)(i), in the event that this Agreement
 requires any action to be taken with respect to any matter and the Indenture requires that a different action
 be taken with respect to such matter, and such actions are mutually exclusive, the provisions of the
 Indenture in respect thereof shall control.

                   21.     Priority of Payments.

                The Servicer agrees that the payment of all amounts to which it is entitled pursuant to this
 Agreement and the Indenture shall be due and payable only in accordance with the priorities set forth in
 the Indenture and only to the extent funds are available for such payments in accordance with such
 priorities.

                   22.     Governing Law.

            THIS AGREEMENT SHALL BE CONSTRUED IN ACCORDANCE WITH AND
 GOVERNED BY THE LAWS OF THE STATE OF NEW YORK, WITHOUT REFERENCE TO
 ITS PROVISIONS THAT WOULD RESULT IN THE APPLICATION OF THE LAWS OF
 ANOTHER JURISDICTION.

                   23.     Indulgences Not Waivers.

                Neither the failure nor any delay on the part of any party hereto to exercise any right,
 remedy, power or privilege under this Agreement shall operate as a waiver thereof, nor shall any single or



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 partial exercise of any right, remedy, power or privilege preclude any other or further exercise of the same
 or of any other right, remedy, power or privilege, nor shall any waiver of any right, remedy, power or
 privilege with respect to any occurrence be construed as a waiver of such right, remedy, power or
 privilege with respect to any other occurrence. No waiver shall be effective unless it is in writing and is
 signed by the party asserted to have granted such waiver.

                   24.    Costs and Expenses.

                 Except as may otherwise be agreed in writing, the costs and expenses (including the fees
 and disbursements of counsel and accountants) incurred by each party in connection with the negotiation
 and preparation of and the execution of this Agreement, and all matters incident thereto, shall be borne by
 such party.

                   25.    Titles Not to Affect Interpretation.

                  The titles of paragraphs and subparagraphs contained in this Agreement are for
 convenience only, and they neither form a part of this Agreement nor are they to be used in the
 construction or interpretation hereof.

                   26.    Execution in Counterparts.

                  This Agreement may be executed in any number of counterparts by facsimile or other
 written form of communication, each of which shall be deemed to be an original as against any party
 whose signature appears thereon, and all of which shall together constitute one and the same instrument.
 This Agreement shall become binding when one or more counterparts hereof, individually or taken
 together, shall bear the signatures of all of the parties reflected hereon as the signatories.

                   27.    Provisions Separable.

                   In case any provision in this Agreement shall be invalid, illegal or unenforceable as
 written, such provision shall be construed in the manner most closely resembling the apparent intent of
 the parties with respect to such provision so as to be valid, legal and enforceable; provided, however, that
 if there is no basis for such a construction, such provision shall be ineffective only to the extent of such
 invalidity, illegality or unenforceability and, unless the ineffectiveness of such provision destroys the
 basis of the bargain for one of the parties to this Agreement, the validity, legality and enforceability of the
 remaining provisions hereof or thereof shall not in any way be affected or impaired thereby.

                   28.    Number and Gender.

                 Words used herein, regardless of the number and gender specifically used, shall be
 deemed and construed to include any other number, singular or plural, and any other gender, masculine,
 feminine or neuter, as the context requires.

                   29.    Written Disclosure Statement.

                 The Issuer and the Trustee acknowledge receipt of Part II of the Servicer’s Form ADV
 filed with the Securities and Exchange Commission, as required by Rule 204-3 under the Investment
 Advisers Act, more than 48 hours prior to the date of execution of this Agreement.




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                   30.    Miscellaneous.

                           (a)    In the event that any vote is solicited with respect to any Collateral
 Obligation, the Servicer, on behalf of the Issuer, shall vote or refrain from voting any such security in any
 manner permitted by the Indenture that the Servicer has determined in its reasonable judgment shall be in
 the best interests of the Holders of the Securities. In addition, with respect to any Defaulted Collateral
 Obligation, the Servicer, on behalf of the Issuer, may instruct the trustee for such Defaulted Collateral
 Obligation to enforce the Issuer’s rights under the Underlying Instruments governing such Defaulted
 Collateral Obligation and any applicable law, rule or regulation in any manner permitted under the
 Indenture that the Servicer has determined in its reasonable judgment shall be in the best interests of the
 Holders of the Securities. In the event any Offer is made with respect to any Collateral Obligation, the
 Servicer, on behalf of the Issuer, may take such action as is permitted by the Indenture and that the
 Servicer has determined in its reasonable judgment shall be in the best interests of the Holders of the
 Securities.

                         (b)     In connection with taking or omitting any action under the Indenture or
 this Agreement, the Servicer may consult with counsel and may rely in good faith on the advice of such
 counsel or any opinion of counsel.

                  Any corporation, partnership or limited liability company into which the Servicer may be
 merged or converted or with which it may be consolidated, or any corporation, partnership or limited
 liability company resulting from any merger, conversion or consolidation to which the Servicer shall be a
 party, or any corporation, partnership or limited liability company succeeding to all or substantially all of
 the asset servicing and collateral management business of the Servicer, shall be the successor to the
 Servicer without any further action by the Servicer, the Co-Issuers, the Trustee, the Preference Shares
 Paying Agent , the Holders of the Securities or any other person or entity.

                   31.    Limitation of Liabilities.

                  The Issuer’s obligations hereunder are solely the corporate obligations of the Issuer and
 the Servicer shall not have any recourse to any of the directors, officers, shareholders, members or
 incorporators of the Issuer with respect to any claims, losses, damages, liabilities, indemnities or other
 obligations in connection with any transactions contemplated hereby. The obligations of the Issuer
 hereunder shall be limited to the net proceeds of the Collateral, if any, and following realization of the
 Collateral and its application in accordance with the Indenture, any outstanding obligations of the Issuer
 hereunder shall be extinguished and shall not thereafter revive. The provisions of this section shall
 survive termination of this Agreement.




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                                              ANNEX 1


                                 Certain Asset Acquisition Provisions

                   Unless otherwise noted, references to the Issuer in this Annex 1 include the
    Servicer and any other person acting on the Issuer’s behalf. Capitalized terms used but not
    defined herein will have the meanings ascribed to them in the Indenture.

                      For purposes of this Annex 1,

                             “Affiliate” means, with respect to a specified Person, (a) any other
             Person that directly, or indirectly through one or more intermediaries, controls or is
             controlled by, or is under common control with, the specified Person and (b) any
             Person that is a member, director, officer or employee of (i) the specified Person or
             (ii) a Person described in clause (a) of this definition; and

                           “Person” means an individual, a corporation, a limited liability
             company, a partnership, an association, a trust or any other entity or organization,
             including a government or political subdivision or an agency or instrumentality
             thereof.

    Section I.        General Investment Restrictions.

                    Except as may otherwise be provided in this Annex 1, the Issuer (and the
    Servicer acting on the Issuer’s behalf) shall only purchase debt securities, interests in loans
    and other assets (each a “Portfolio Obligation”) only in secondary-market transactions and
    shall not engage in any lending or underwriting activities or otherwise participate in the
    structuring or origination of any Portfolio Obligation.

             A.       Communications and Negotiations.

                     1.      The Issuer will not have any communications or negotiations with
             the obligor of a Portfolio Obligation or a Reference Obligation (directly or
             indirectly through an intermediary such as the seller of such Portfolio Obligation or
             the Synthetic Security) in connection with the issuance or funding of such Portfolio
             Obligation or Reference Obligation or commitments with respect thereto, except
             for communications of an immaterial nature or customary due diligence
             communications; provided, that the Servicer may provide comments as to mistakes
             or inconsistencies in loan documents (including with respect to any provisions that
             are inconsistent with the terms and conditions of purchase of the loan by the Issuer).

                     2.     By way of example, permitted due diligence activities may include,
             but are not limited to, (a) attendance at an obligor’s general “roadshow” or other
             presentations to investment professionals, (b) direct private discussions with
             personnel of the obligor, arranged by a sponsor, lead bank or other arranger, and (c)
             other due diligence activities of the kind customarily performed by offerees of the
             type of Portfolio Obligation being offered, but may not include any negotiations

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             with the obligor, employees or agents of the obligor of any terms or conditions of
             the Portfolio Obligation being offered.

                     3.      Negotiations between the Servicer and the underwriter, placement
             agent or broker of a Portfolio Obligation are permitted solely to the extent that they
             are limited to responses to customary pre-offering period and offering period
             inquiries by the underwriter or placement agent (e.g., “If we offered you 10-year
             senior subordinated bonds of XYZ company, what spread would it require to
             interest you?” or “If you will not buy the bonds as offered, would you buy if we
             convinced the obligor to add a fixed charge coverage test?”). For purposes of this
             Section I.A., “negotiations” shall not include (i) commenting on offering
             documents to an unrelated underwriter or placement agent when the ability to
             comment was generally available to other offerees, or (ii) communicating certain
             objective criteria (such as the minimum yield or maturity) the Issuer generally uses
             in purchasing the relevant type of Portfolio Obligation.

                     4.      The Issuer may consent or otherwise act with respect to
             amendments, supplements or other modifications of the terms of any Portfolio
             Obligation (other than a Subsidiary Obligation (as defined in Section III)) requiring
             consent or action after the date on which any such Portfolio Obligation is acquired
             by the Issuer if (a) such amendment, supplement or modification would not
             constitute a Significant Modification (as defined below), (b) (i) in the reasonable
             judgment of the Servicer, the obligor is in financial distress and such change in
             terms is desirable to protect the Issuer’s interest and (ii) the Portfolio Obligation is
             described in clause 5(b) of this Section I.A., (c) the amendment or modification
             would not be treated as the acquisition of a new Portfolio Obligation under
             paragraph 5 of this Section I.A., or (d) otherwise, if it has received advice of
             counsel that its involvement in such amendment, supplement or modification will
             not cause the Issuer to be treated as engaged in a trade or business within the United
             States.

                     A “Significant Modification” means any amendment, supplement or other
             modification that involves (a) a change in the stated maturity or a change in the
             timing of any material payment of any Portfolio Obligation (including deferral of
             an interest payment), that would materially alter the weighted average life of the
             Portfolio Obligation, (b) any change (whether positive or negative) in the yield on
             the Portfolio Obligation immediately prior to the modification in excess of the
             greater of (i) 25 basis points or (ii) 5 percent of such unmodified yield, (c) any
             change involving a material new extension of credit, (d) a change in the obligor of
             any Portfolio Obligation, or (e) a material change in the collateral or security for
             any Portfolio Obligation, including the addition or deletion of a co-obligor or
             guarantor that results in a material change in payment expectations (all as
             determined for purposes of section 1001 of the Code).

                     5.    In the event the Issuer owns an interest in a Portfolio Obligation the
             terms of which are subsequently amended or modified, or in the case of a workout
             situation not described in Section III hereof, which Portfolio Obligation is

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             subsequently exchanged for new obligations or other securities of the obligor of the
             Portfolio Obligation, such amendments or modifications or exchange will not be
             treated as the acquisition of an interest in a new Portfolio Obligation for purposes of
             this Annex 1, provided, that (a) the Issuer does not, directly or indirectly (through
             the Servicer or otherwise), seek the amendments or modifications or the exchange,
             or participate in negotiating the amendments or modifications or the exchange, and
             (b) at the time of original acquisition of the interest in the Portfolio Obligation, it
             was not reasonably anticipated that the terms of the Portfolio Obligation would,
             pursuant to a workout or other negotiation, subsequently be amended or modified.

            B.       Fees. The Issuer will not earn or receive from any Person any fee or other
    compensation for services, however denominated, in connection with its purchase or sale
    of a Portfolio Obligation or entering into a Synthetic Security; the foregoing prohibition
    shall not be construed to preclude the Issuer from receiving (i) commitment fees, facility
    maintenance fees or other similar fees that are received by the Issuer in connection with
    revolving or delayed drawdown Loans or synthetic or pre-funded letter of credit Loans; (ii)
    yield maintenance and prepayment penalty fees; (iii) fees on account of the Issuer’s
    consenting to amendments, waivers or other modifications of the terms of any Portfolio
    Obligations; (iv) fees from permitted securities lending; or (v) upfront payments in lieu of
    periodic payments under a Synthetic Security. The Issuer will not provide services to any
    Person; the foregoing prohibition shall not be construed to preclude the Issuer from
    activities relating to the receipt of income described in (i) through (v) of the preceding
    sentence.

    Section II.       Loans and Forward Purchase Commitments.

            A.     Any understanding or commitment to purchase a loan, a participation, or a
    loan subparticipation (collectively, “Loans”) from a seller before completion of the closing
    and full funding of the Loan by such seller shall only be made pursuant to a forward sale
    agreement at an agreed price (stated as a dollar amount or as a percentage) (a “Forward
    Purchase Commitment”), unless such an understanding or commitment is not legally
    binding and neither the Issuer nor the Servicer is economically compelled (e.g., would
    otherwise be subject to a significant monetary penalty) to purchase the Loan following the
    completion of the closing and full funding of the Loan (i.e., the Servicer will make an
    independent decision whether to purchase such Loan on behalf of the Issuer after
    completion of the closing of the Loan) (a “Non-Binding Agreement”).

           B.      No Forward Purchase Commitment or Non-Binding Agreement shall be
    made until after the seller (or a transferor to such seller of such Loan) has made a legally
    binding commitment to fully fund such Loan to the obligor thereof (subject to customary
    conditions), which commitment cannot be conditioned on the Issuer’s ultimate purchase of
    such Loan from such seller.

           C.     In the event of any reduced or eliminated funding, the Issuer shall not
    receive any premium, fee, or other compensation in connection with having entered into
    the Forward Purchase Commitment or Non-Binding Agreement.



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            D.      The Issuer shall not close any purchase of a Loan subject to a Forward
    Purchase Commitment or a Non-Binding Agreement earlier than 48 hours after the time of
    the closing of the Loan (i.e., execution of definitive documentation), and, in the case of a
    Forward Purchase Commitment, the Issuer’s obligation to purchase such Loan is subject to
    the condition that no material adverse change has occurred in the financial condition of the
    Loan’s obligor or the relevant market on or before the relevant purchase date.

            E.     The Issuer cannot have a contractual relationship with the obligor with
    respect to a Loan until the Issuer actually purchases the Loan.

            F.     The Issuer cannot be a signatory on the original lending agreement, and
    cannot be obligated to fund an assignment of or a participation in a Loan, prior to the time
    specified in subsection D above.

            G.      In addition to the restrictions otherwise applicable to Loans, the Issuer shall
    not acquire any synthetic or pre-funded letter of credit Loan unless (1) the cash collateral
    deposit with respect to such Loan was fully funded by a predecessor in interest with respect
    to such Loan; (2) the Loan is part of a credit facility that includes another Loan (other than
    a synthetic or pre-funded letter of credit Loan) to the same obligor, and is being acquired in
    connection with the acquisition of such other Loan and from the same seller as such other
    Loan, with the intent to hold both parts and with the amount of the other Loan being
    significantly in excess of the amount of the synthetic or pre-funded letter of credit Loan; (3)
    such synthetic or pre-funded letter of credit Loan satisfies the requirements set forth in
    Section VI.B., treating the synthetic or pre-funded letter of credit Loan, for this purpose, as
    though it were a delayed drawdown or revolving Loan; and (4) at no time may more than
    5% of the aggregate principal amount of Portfolio Obligations consist of synthetic or
    pre-funded letter of credit Loans.

    Section III.      Distressed Debt

           A.      The Issuer may only purchase a Debt Instrument that is a Potential Workout
    Obligation to the extent permitted by this Section III.

           B.     Neither the Issuer nor the Servicer on behalf of the Issuer shall purchase a
    Subsidiary Obligation from any Issuer Subsidiary.

             C.       Special Procedures for Subsidiary Obligations.

                     1.     Potential Workout Obligations. On or prior to the date of
             acquisition, the Servicer on behalf of the Issuer shall identify each Portfolio
             Obligation that is a Potential Workout Obligation.

                     2.      Transfer of Subsidiary Obligations. From and after the occurrence
             of a Workout Determination Date with respect to a Subsidiary Obligation, neither
             the Issuer nor the Servicer on behalf of the Issuer shall knowingly take any action in
             respect of such Subsidiary Obligation that may result in the Issuer being engaged,
             or deemed to be engaged, in a trade or business within the United States for United
             States federal income tax purposes. As soon as practicable, but in any event within

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             30 calendar days following a Workout Determination Date, the Servicer shall cause
             the Issuer either (i) to sell or dispose of any Subsidiary Obligation identified on
             such Workout Determination Date to a Person that is not an Affiliate of the Issuer
             or Servicer or (ii) to assign any Subsidiary Obligation identified on such Workout
             Determination Date to an Issuer Subsidiary.

                           For purposes of this Annex 1, an “Issuer Subsidiary” means any
             wholly-owned corporate subsidiary of the Issuer to which a Special Workout
             Obligation may be transferred in accordance with this Annex 1.

                     3.       Consideration for Assignment of Subsidiary Obligations.
             Consideration given by an Issuer Subsidiary for the assignment to it of Subsidiary
             Obligations may be in the form of cash or in the form of indebtedness of, or equity
             interests in, such Issuer Subsidiary.

                    4.       Classification of Issuer Subsidiaries. Each Issuer Subsidiary shall
             be an entity treated as a corporation for United States federal income tax purposes.

             As used herein:

                     “Potential Workout Obligation” means any debt instrument (any such
             instrument, including an interest in a Loan, a “Debt Instrument”) which, as of the
             date of acquisition by the Issuer or an Issuer Subsidiary, based on information
             specific to such Debt Instrument or the circumstances of the obligor thereof, is a
             Workout Obligation or, in the reasonable determination of the Servicer, has a
             materially higher likelihood of becoming a Workout Obligation as compared to
             debt obligations that par or other non-distressed debt purchasers or funds relating to
             that asset type customarily purchase and expect to hold to maturity.

                     “Subsidiary Obligation” means any Potential Workout Obligation (a) as to
             which the Issuer on any Workout Determination Date either (i) owns more than
             40% of the aggregate principal amount of such class of Potential Workout
             Obligation outstanding or (ii) is one of the two largest holders of any class of debt
             of the obligor of such Potential Workout Obligation (based on the outstanding
             principal amount of such class of debt owned by the Issuer as a percentage of the
             aggregate outstanding principal amount of such class of debt) unless not fewer than
             three other holders and the Issuer collectively own at least 65% of such class of
             debt and, if the Issuer is the largest holder of such class, the Issuer’s percentage of
             such class does not exceed the percentage held by the next largest holder of the debt
             by more than 5% of such class or (b) that would, upon foreclosure or exercise of
             similar legal remedies, result in the Issuer directly owning assets (other than
             securities treated as debt, equity in a partnership not engaged in a trade or business
             within the United States, or corporate equity for United States federal income tax
             purposes, provided in the case of corporate equity that the corporation is not a
             “United States real property holding corporation” within the meaning of section
             897 of the Code) which are “United States real property interests” within the
             meaning of section 897 of the Code or which the Servicer reasonably expects it


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             would, on behalf of the Issuer, be required to actively manage to preserve the value
             of the Issuer’s interest therein; provided that a Potential Workout Obligation shall
             not be treated as a Subsidiary Obligation if the Issuer obtains a Tax Opinion that,
             based on all the surrounding circumstances, the activities in which the Issuer
             intends to engage with respect to such Potential Workout Obligation will not cause
             the Issuer to be treated as engaged in a trade or business for United States federal
             income tax purposes.

                     “Workout Determination Date” means any date on which, in connection
             with the occurrence of any event described in clauses (a) through (c), inclusive, of
             the definition of Workout Obligation, either (a) any material action by the Issuer is
             required to be taken, (b) the Servicer receives written notice that such material
             action shall be required or (c) the Servicer reasonably determines that the taking of
             such material action is likely to be required.

                    “Workout Obligation” means any Debt Instrument as to which the Servicer
             on behalf of the Issuer (a) consents to a Significant Modification in connection with
             the workout of a defaulted Portfolio Obligation, (b) participates in an official or
             unofficial committee or similar official or unofficial body in connection with a
             bankruptcy, reorganization, restructuring or similar proceeding, or (c) exercises, or
             has exercised on its behalf, rights of foreclosure or similar judicial remedies.

    Section IV.       Purchases from the Servicer or its Affiliates.

            A.       If the Servicer or an Affiliate of the Servicer acted as an underwriter,
    placement or other agent, arranger, negotiator or structuror, or received any fee for services
    (it being understood that receipts described in clauses (i) through (v) of Section I.B. are not
    construed as so treated), in connection with the issuance or origination of a Portfolio
    Obligation or was a member of the original lending syndicate with respect to the Portfolio
    Obligation (any such Portfolio Obligation, a “Special Procedures Obligation”), the Issuer
    will not acquire any interest in such Special Procedures Obligation (including entering into
    a commitment or agreement, whether or not legally binding or enforceable, to acquire such
    obligation directly or synthetically), from the Servicer, an Affiliate of the Servicer, or a
    fund managed by the Servicer, unless (i) the Special Procedures Obligation has been
    outstanding for at least 90 days, (ii) the holder of the Special Procedures Obligation did not
    identify the obligation or security as intended for sale to the Issuer within 90 days of its
    issuance, (iii) the price paid for such Special Procedures Obligation by the Issuer is its fair
    market value at the time of acquisition by the Issuer, and (iv) the transaction is proposed to,
    and the ultimate purchase is approved on behalf of the Issuer by, one or more Independent
    Advisors to the Issuer in accordance with the provisions of Section IV.B. below. The
    Issuer will not acquire any Special Procedures Obligation if, immediately following such
    acquisition, the fair market value of all Special Procedures Obligations owned by the Issuer
    would constitute more than 49% of the fair market value of all of the Issuer’s assets at such
    time.

             B.     An “Independent Advisor” is a Person who is not an Affiliate of the Issuer,
             the Servicer or any fund managed by the Servicer.

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                     1.     The Issuer may not purchase or commit to enter into any such
             Special Procedures Obligation without prior approval by an Independent Advisor.
             If the Independent Advisor declines to approve a proposed Special Procedures
             Obligation, at least three months must elapse before any proposal with respect to
             the acquisition of debt or other obligations of the same obligor are proposed or
             considered.

                     2.     The Issuer shall engage the Independent Advisor in an agreement
             the terms of which shall in substantial form set forth:

                      (a) the representation of the Independent Advisor, which the Servicer shall
                      not know to be incorrect, that it has significant financial and commercial
                      expertise, including substantial expertise and knowledge in and of the loan
                      market and related investment arenas;

                      (b) the agreement between the Independent Advisor, the Issuer and the
                      Servicer generally to the effect that (i) the Independent Advisor will operate
                      pursuant to procedures consistent with maintaining his or her independence
                      from the Servicer and its Affiliates, (ii) the Independent Advisor will have
                      the sole authority and discretion to approve or reject purchase proposals
                      made by the Servicer with respect to any Special Procedures Obligation, (iii)
                      all proposals for the Issuer to acquire any Special Procedures Obligation
                      will be first submitted to the Independent Advisor, (iii) the Servicer will
                      prepare the materials it deems necessary to describe the Special Procedures
                      Obligation to the Independent Advisor, (iv) the Investment Advisor will not
                      be required to make any decision to accept or decline a Special Procedures
                      Obligation at the price offered prior to its review of the materials prepared,
                      plus any additional information requested by the Independent Advisor, and
                      (v) no Independent Advisor may be proposed to be replaced by the Servicer,
                      unless for cause or in the event of a resignation of such Independent
                      Advisor; and

                      (c) such other commercially reasonable terms and conditions, including
                      terms and conditions to the effect that (i) the Independent Advisor will be
                      paid a reasonable fee for its services plus reimbursement of any reasonable
                      expenses incurred in performance of his or her responsibilities, (ii) the
                      Independent Advisor may be removed or replaced only by a majority
                      (whether by positive act or failure to object) of the probable equity owners
                      (as determined for United States federal income tax purposes) of the Issuer,
                      (iii) if at any time there is more than one Independent Advisor to the Issuer,
                      a majority of such Independent Advisors must approve any Special
                      Procedures Obligation subject to Independent Advisor approval, (iv) an
                      Independent Advisor may not engage, directly or indirectly, in the
                      negotiation of the terms of any Special Procedures Obligation to be
                      acquired by the Issuer (provided however, that an Independent Advisor may


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                      negotiate with the Servicer or the seller with respect to the price and terms
                      of the Issuer’s purchase of the Special Procedures Obligation, provided
                      further that the Independent Advisor will not make suggestions to the
                      Servicer or any other person about alternative or modified terms of the
                      underlying Special Procedures Obligation on which they might be willing
                      to approve such a Special Procedures Obligation).

                    3.      Any servicing agreement or other document under which the
             Servicer is granted signatory powers or other authority on behalf of the Issuer will
             provide that such powers or authority with respect to Special Procedures
             Obligations are conditioned upon the prior written approval of the Independent
             Advisor
    .
                     4.      No Special Procedures Obligation will be presented to an
             Independent Advisor until at least 90 days have elapsed since the later of (a) the
             execution of final documentation and (b) the funding in whole or part of the Special
             Procedures Obligation and there will have been no commitment or arrangement
             prior to that time that the Issuer will acquire any such Special Procedures
             Obligation; provided, further, that the Special Procedures Obligation will not be
             treated as outstanding for any day on which the Issuer enjoys the benefits and
             burdens of ownership (for example, because any Person has hedged its credit
             exposure to the Special Procedures Obligation with the Issuer).

                     5.      The Issuer will have no obligation to, or understanding that it will
             refund, reimburse or indemnify any person (including an Affiliate of the Servicer),
             directly or indirectly, for “breakage” costs or other costs or expenses incurred by
             such person if the Independent Advisor determines that the Issuer should decline to
             purchase any Special Procedures Obligation.

                     6.     Neither the Servicer nor any Affiliate of the Servicer will have any
             authority to enter into agreements, or take any action, on behalf of the Issuer with
             respect to Special Procedures Obligations without the prior written approval of an
             Independent Advisor. Except as may be conditioned upon such prior written
             approval, neither the Servicer nor any Affiliate of the Servicer may hold itself out
             as having signatory powers on behalf of the Issuer or authority to enter into
             agreements with respect to Special Procedures Obligations on behalf of the Issuer.

    Section V.        Synthetic Securities.

           A.       The Issuer shall not (i) acquire or enter into any Synthetic Security with
    respect to any Reference Obligation the direct acquisition of which would violate any
    provision of this Annex 1 or (ii) use Synthetic Securities as a means of making advances to
    the Synthetic Security Counterparty following the date on which the Synthetic Security is
    acquired or entered into (for the avoidance of doubt, the establishment of Synthetic
    Security collateral accounts and the payment of Synthetic Security Counterparties from the
    amounts on deposit therein, shall not constitute the making of advances).


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            B.     With respect to each Synthetic Security, the Issuer will not acquire or enter
    into any Synthetic Security that does not satisfy all of the following additional criteria
    unless the Servicer has first received advice of counsel that the ownership and disposition
    of such Synthetic Security would not cause the Issuer to be engaged in a trade or business
    within the United States for United States federal income tax purposes:

                    1.      the criteria used to determine whether to enter into any particular
             Synthetic Security was similar to the criteria used by the Servicer in making
             purchase decisions with respect to debt securities;

                     2.      the Synthetic Security is acquired by or entered into by the Issuer for
             its own account and for investment purposes with the expectation of realizing a
             profit from income earned on the securities (and any potential rise in their value)
             during the interval of time between their purchase and sale or hedging purposes and
             not with an intention to trade or to sell for a short-term profit;

                     3.      the Issuer enters into the Synthetic Security with a counterparty that
             is not a special purpose vehicle and is a broker-dealer or that holds itself out as in
             the business of entering into such contracts;

                     4.     neither the Issuer nor any Person acting on behalf of the Issuer
             advertises or publishes the Issuer’s ability to enter into Synthetic Securities;

                     5.    except with respect to (x) credit-linked notes or similar Synthetic
             Securities and (y) any other Synthetic Securities where standard form ISDA
             documentation is not applicable, the Synthetic Security is written on standard form
             ISDA documentation;

                    6.     the net payment from the Issuer to the Synthetic Security
             Counterparty is not determined based on an actual loss incurred by the Synthetic
             Security Counterparty or any other designated person;

                     7.    there exists no agreement, arrangement or understanding that (i) the
             Synthetic Security Counterparty is required to own or hold the related Reference
             Obligation while the Synthetic Security remains in effect or (ii) the Synthetic
             Security Counterparty is economically or practically compelled to own or hold the
             related physical Reference Obligation while the Synthetic Security remains in
             effect;

                     8.       the Synthetic Security provides for (i) all cash settlement, (ii) all
             physical settlement or (iii) the option to either cash settle or physically settle;
             provided that, in the latter two cases, physical settlement provides the settling party
             the right to settle the Synthetic Security by delivering deliverable obligations which
             may include the Reference Obligation and the settling party must not be required to
             deliver the related Reference Obligation upon the settlement of such Synthetic
             Security.



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                           Notwithstanding the preceding paragraph, a Synthetic Security
             providing for physical settlement may require a party to deliver the related
             Reference Obligation if either:

                                      (i)    at the time the Issuer enters into such Synthetic
                      Security, such Reference Obligation is readily available to purchasers
                      generally in a liquid market; or

                                      (ii)    the advice of both United States federal income tax
                      and insurance counsel of nationally recognized standing in the United
                      States experienced in such matters is that, under the relevant facts and
                      circumstances with respect to such Synthetic Security, the acquisition of
                      such Synthetic Security will not cause the Issuer to be engaged, or deemed
                      to be engaged, in a trade or business within the United States for United
                      States federal income tax purposes or otherwise to be subject to United
                      States federal income tax on a net basis and should not cause the Issuer to be
                      treated as writing insurance in the United States under the law of the state in
                      which the Synthetic Security Counterparty is organized.

                    9.      the Synthetic Security is not treated by the Issuer as insurance or a
             financial guarantee sold by the Issuer for United States or Cayman Islands
             regulatory purposes.

                      As used herein:

                    “Reference Obligation” means a debt security or other obligation upon
             which a Synthetic Security is based.

                     “Synthetic Security” means any swap transaction or security, other than a
             participation interest in a Loan, that has payments associated with either payments
             of interest and/or principal on a Reference Obligation or the credit performance of a
             Reference Obligation.

                    “Synthetic Security Counterparty” means an entity (other than the Issuer)
             required to make payments on a Synthetic Security (including any guarantor).

    Section VI.       Other Types of Assets.

           A.       Equity Restrictions. The Issuer will not purchase any asset (directly or
    synthetically) that is:

                     1.      not treated for U.S. federal income tax purposes as debt if the
             issuing entity is a “partnership”(within the meaning of Section 7701(a)(2) of the
             Code) unless such entity is not engaged in a trade or business within the United
             States, or

                    2.     a “United States real property interest” as defined in section 897 of
             the Code and the Treasury Regulations promulgated thereunder.

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                   3.      a residual interest in a “REMIC” or an ownership interest in a
             “FASIT” (as such terms are as defined in the Code).

    The Issuer may cause an Issuer Subsidiary to acquire assets set forth in clause (i) or (ii)
    above (each, an “ETB/897 Asset”) in connection with the workout of defaulted Portfolio
    Obligations, so long as the acquisition of ETB/897 Assets by such Issuer Subsidiary will
    not cause the stock of such Issuer Subsidiary to be deemed to be an ETB/897 Asset.

            B.      Revolving Loans and Delayed Drawdown Loans. All of the terms of any
    advance required to be made by the Issuer under any revolving or delayed drawdown Loan
    will be fixed as of the date of the Issuer’s purchase thereof (or will be determinable under a
    formula that is fixed as of such date), and the Issuer and the Servicer will not have any
    discretion (except for consenting or withholding consent to amendments, waivers or other
    modifications or granting customary waivers upon default) as to whether to make advances
    under such revolving or delayed drawdown Loan.

            C.      Securities Lending Agreements. The Issuer will not purchase any Portfolio
    Obligation primarily for the purpose of entering into a securities lending agreement with
    respect thereto.

            D.      Exception From Secondary Market Rule for Debt Securities. Any purchase
    of a Portfolio Obligation other than a Loan (a “Debt Security”) pursuant to a commitment,
    arrangement or other understanding made before or contemporaneously with completion
    of the closing and funding of such Debt Security issuance shall be made only in connection
    with one of the following:

                    (i)      an underwriting of a registered public offering in which the seller
             has made a firm underwriting commitment to the issuer of such Debt Security
             where none of the Servicer or any Affiliate thereof acted as an underwriter or
             placement agent or participated in negotiating or structuring the terms of the Debt
             Security (other than to comment on offering documents to an unrelated underwriter
             or placement agent where the ability to comment was generally available to
             investors and to undertake due diligence of the kind customarily performed by
             investors in securities),

                     (ii)    a private placement to qualified investors (pursuant to Rule 144A or
             Section 4(2) under the Securities Act or other similar arrangement) in which such
             Debt Security was originally issued pursuant to an offering circular, private
             placement memorandum, or similar offering document and none of the Servicer or
             any Affiliate thereof acted as a placement agent or underwriter or participated in
             negotiating or structuring the terms of the Debt Security (other than to comment on
             offering documents to an unrelated underwriter or placement agent where the
             ability to comment was generally available to investors and to undertake due
             diligence of the kind customarily performed by investors in securities), or

                    (iii)  an acquisition of or entry into a Synthetic Obligation in accordance
             with Section V. above;


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                    If an Affiliate of the Servicer is acting as an underwriter or placement agent
    or an Affiliate of the Servicer or an employee of an Affiliate of the Servicer participated in
    the structuring of an issuance otherwise described in clause (i) or clause (ii) of this
    paragraph D, one of the following additional conditions must be met:

                     (x)    the Servicer did not participate in negotiating or structuring the
             terms of the obligation or security (other than to comment on offering documents to
             an unrelated underwriter or placement agent where the ability to comment was
             generally available to investors and to undertake due diligence of the kind
             customarily performed by investors in securities) and the Issuer purchases no more
             than 33% of the aggregate principal amount of the tranche of securities (or other
             instruments) of which such Debt Security is a part and more than 50% of the
             aggregate principal amount of such tranche is substantially contemporaneously
             sold to one or more Persons unrelated to the Servicer (and who have not given the
             Servicer discretionary trading authority) on terms and conditions substantially the
             same as those on which the Issuer is to purchase,

                     (y)    the Servicer did not participate in negotiating or structuring the
             terms of the obligation or security (other than to comment on offering documents to
             an unrelated underwriter or placement agent where the ability to comment was
             generally available to investors and to undertake due diligence of the kind
             customarily performed by investors in securities) and the Issuer purchases less than
             33% of the aggregate principal amount of all tranches issued as part of the
             transaction in which the Debt Security was issued and more than 50% of the
             aggregate principal amount of such tranches are substantially contemporaneously
             sold to one or more Persons unrelated to the Servicer (and who have not given the
             Servicer discretionary trading authority) on terms and conditions substantially the
             same as those on which the Issuer is to purchase, or

                    (z)     such security or obligation satisfies the requirements and procedures
             applicable to Special Procedures Obligations in Section IV as though it were a
             Loan;

    provided, however, in either of (x) or (y), the Affiliate of the Servicer was (or the
    employees of the Affiliate of the Servicer were) acting as an underwriter or placement
    agent (or otherwise participated in the structuring of such issuance) solely as, or solely as
    an employee of, a Permitted Affiliate (as defined below).

                    “Permitted Affiliate” means any Affiliate (i) that is a separate legal entity
    that is operated independently of the Servicer, (ii) whose personnel are not managed by and
    who do not report to the personnel of the Servicer, and (iii) whose personnel are not
    compensated based upon the performance of the Servicer.

    Section VII.      General Restrictions on the Issuer. The Issuer itself shall not:

           A.      hold itself out, through advertising or otherwise, as originating Loans,
    lending funds, or making a market in or dealing in Loans or other assets;


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            B.      register as, hold itself out as, or become subject to regulatory supervision or
    other legal requirements under the laws of any country or political subdivision thereof as, a
    broker-dealer, a bank, an insurance company, financial guarantor, a surety bond issuer, or a
    company engaged in Loan origination;

            C.      knowingly take any action causing it to be treated as a bank, insurance
    company, or company engaged in Loan origination for purposes of any tax, securities law
    or other filing or submission made to any governmental authority;

            D.     hold itself out, through advertising or otherwise, as originating, funding,
    guaranteeing or insuring debt obligations or as being willing and able to enter into
    transactions (either purchases or sales of debt obligations or entries into, assignments or
    terminations of hedging or derivative instruments, including Synthetic Securities) at the
    request of others;

           E.      treat Synthetic Securities as insurance, reinsurance, indemnity bonds,
    guaranties, guaranty bonds or suretyship contracts for any purpose;

            F.      allow any non-U.S. bank or lending institution who is a holder of a Security
    to control or direct the Servicer’s or Issuer’s decision to acquire a particular asset except as
    otherwise allowed to such a holder, acting in that capacity, under the related indenture or
    acquire a Portfolio Obligation conditioned upon a particular person or entity holding
    Securities;

           G.     acquire any asset the holding or acquisition of which the Servicer knows
    would cause the Issuer to be subject to income tax on a net income basis;

             H.       hold any security as nominee for another person; or

            I.      buy securities with the intent to subdivide them and sell the components or
    to buy securities and sell them with different securities as a package or unit.

    Section VIII. Tax Opinion; Amendments.

            A.      In furtherance and not in limitation of this Annex 1, the Servicer shall
    comply with all of the provisions set forth in this Annex 1, unless, with respect to a
    particular transaction, the Servicer acting on behalf of the Issuer and the Trustee shall have
    received written advice of counsel of nationally recognized standing in the United States
    experienced in such matters (a “Tax Opinion”), that, under the relevant facts and
    circumstances with respect to such transaction, the Servicer’s failure to comply with one or
    more of such provisions will not cause the Issuer to be engaged, or deemed to be engaged,
    in a trade or business within the United States for United States federal income tax
    purposes or otherwise to be subject to United States federal income tax on a net basis.

           B.     The provisions set forth in the Annex 1 may be amended, eliminated or
    supplemented by the Servicer if the Issuer, the Servicer and the Trustee shall have received
    a Tax Opinion that the Servicer’s compliance with such amended provisions or
    supplemental provisions or the failure to comply with such provisions proposed to be

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    eliminated, as the case may be, will not cause the Issuer to be engaged, or deemed to be
    engaged, in a trade or business within the United States for United States federal income
    tax purposes or otherwise to be subject to United States federal income tax on a net basis.




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